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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 22-4355-JFW(JEMx)                                              Date: April 26, 2023

Title:       Yuga Labs, Inc. -v- Ripps, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                 None Present
             Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER RE: PLAINTIFF YUGA LABS, INC.’S MOTION
                                         FOR AN AWARD OF ATTORNEYS’ FEES AND COSTS
                                         [filed 3/31/23; Docket No. 182]

        On March 31, 2023, Plaintiff Yuga Labs, Inc. (“Yuga”) filed a Motion for an Award of
Attorneys’ Fees and Costs (“Motion”). On April 10, 2023, Defendants Ryder Ripps and Jeremy
Cahen (collectively, “Defendants”) filed their Opposition. On April 17, 2023, Yuga filed a Reply.
Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds
that this matter is appropriate for decision without oral argument. The hearing calendared for May
1, 2023 is hereby vacated and the matter taken off calendar. After considering the moving,
opposing, and reply papers, and the arguments therein, the Court rules as follows:

        In its Motion, Yuga seeks pursuant to the mandatory fee-shifting provision in California’s
anti-SLAPP statute, California Code of Civil Procedure §425.16(c), $242,543.75 in attorneys’ fees
and costs incurred in connection with Yuga’s Special Motion to Strike Counterclaims (“Motion to
Strike”). See Reply, 9:9-13. In their Opposition, Defendants argue that Yuga’s attorneys’ fees
award should be reduced to $26,400.00. In the Court’s Order granting Yuga’s Motion to Strike,
filed March 17, 2023 (Docket No. 156), the Court concluded that, for purposes of California Code
of Civil Procedure §425.16(c), Yuga was the prevailing party and entitled to recover its attorneys’
fees and costs in connection with bringing its Motion to Strike. As a result, the only issue
remaining for the Court to determine is the reasonableness of the attorneys’ fees and costs
requested by Yuga.

      In this case, because Defendants dispute the reasonableness of the amount of attorneys’
fees and costs requested by Yuga, the Court orders the parties to meet and confer in good faith
and agree on the amount of reasonable attorneys’ fees and costs that should be awarded to Yuga,
keeping in mind that a contested request for attorneys’ fees “should not result in a second major


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litigation.” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“Ideally, of course, litigants will settle
the amount of a fee. Where settlement is not possible, the fee applicant bears the burden of
establishing entitlement to an award and documenting the appropriate hours expended and hourly
rates”).

         Yuga has apparently provided Defendants with all billing records and other documents that
it relies on in support of its request for reasonable attorneys’ fees and costs. If there are any billing
records or other documents relied on by Yuga in support of its request for reasonable attorneys’
fees and costs that have not been provided to Defendants, Yuga shall provide those documents to
Defendants by May 1, 2023.

        On or before May 15, 2023, lead counsel for the parties shall meet and confer in person
and shall specifically identify all hours, billing rates and costs, or other items that will and will not
be objected to, the basis of any objections, and the specific hours, billing rates and costs that in the
parties respective views are reasonable and should be compensated.1 The parties shall in good
faith attempt to resolve any remaining disputes.

      In the unlikely event that any matters remain in dispute, the parties shall, on or before May
22, 2023, file a joint statement which includes the following:

       1)     the total amount of attorneys’ fees and costs claimed by Yuga with a summary table
              identifying the name, claimed hours, claimed rates, and claimed totals for each biller;

       2)     the total amount of attorneys’ fees and costs that Defendants agree should be
              awarded; and

       3)     a description of each specific item in dispute, with a separate statement of
              Defendants’ objections and Yuga’s response. The parties shall also file two
              summary tables (one for attorneys’ fees and one for costs) in the format shown in
              Exhibit A to this Order.

         If the Court concludes that counsel have not acted in good faith or if the Court determines
that it is in the interest of judicial economy to do so, the Court will refer the matter to a special
master at the expense of the parties pursuant to Federal Rule of Civil Procedure 54(d)(2)(D).

       IT IS SO ORDERED.




       1
        Yuga shall not increase the amount of attorneys’ fees requested to include time spent by
Yuga’s counsel on the meet and confer process or, if necessary, the preparation of the joint
statement.

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                                       Exhibit A


Attorney    Date     Description    Time/Amt    Reduce   Objection   Reason         Response
                                   Challenged     by                    for            to
                                                                     Objection      Objection

J. DOE     1/2/08   T/C w/         3.0 ($450)   3.0
                    Consultant                  ($450)

S. ROE     2/1/08   Research       2.0 ($300)   1.0
                    Notice of                   ($150)
                    Related
                    Cases
J. DOE     2/7/08   Calendar       1.0 ($150)   1.0
                    dates                       ($150)




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